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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------X
UNITED STATES OF AMERICA,                                        MEMORANDUM AND ORDER
                   - against -
LUCIO CELLI,                                                     18-MJ-1101 (RER)
                                      Defendant.
----------------------------------------------------------X

James Orenstein, Magistrate Judge:

         Defendant Lucio Celli ("Celli") has asked me to order an entity to produce certain records.

The sole basis for the request is that his counsel asked the respondent entity to provide the records

on December 10, 2018, has not yet received a response, and seeks the records at issue to pursue an

investigation. See Docket Entry ("DE") 15 (motion). For the reasons set forth below, I deny the

request without prejudice to renewal on notice to the respondent entity.

         As a threshold matter, I note that Celli's counsel first submitted the request ex parte and

under seal without leave. When I directed counsel to file a suitably redacted version on the public

docket, counsel did so in a way that, as far as I can tell, needlessly and inappropriately masks the

nature of the investigation counsel seeks to pursue, the identity of the entity from which counsel

seeks information and the nature of the requested records. The Federal Rules of Criminal Procedure

require the redaction of certain categories of personal information in court filings and a create a

mechanism for seeking to protect legitimate privacy interests attendant to the inclusion of other

kinds of information. See Fed. R. Crim. P. 49.1. Celli's counsel has not sought redaction under that

rule and I see no reason why any of the redacted information should remain shielded from public

scrutiny, particularly in light of the discussion of matters that appear to be related to the instant

request at public hearings in this case. See DE 10 (transcript of proceedings on November 14, 2018)

at 8-12; DE 12 (noting denial of bail application without prejudice to renewal when a course of
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medical treatment is submitted to the court). Accordingly, absent a basis for continued sealing, I will

respectfully direct the Clerk to unseal the unredacted version of Celli's motion. See Fed. R. Crim. P.

49.1(d).

           In seeking the records at issue, Celli reports only that he has requested that the respondent

entity produce them. He does not suggest that the entity has any legal obligation to comply with that

request (by virtue of a subpoena or otherwise) or that he has provided the entity with any necessary

authorizations that would even allow the entity to do so consistent with its legal obligations to

protect the privacy of certain types of information. 1 Nor has Celli identified any law that empowers

me to issue the requested order or demonstrated that his motion satisfies the standard for entering

an order under such law. Indeed, Celli has not even provided a reason to believe that the respondent

entity has any records responsive to his request in its possession, custody, or control. Finally, Celli

has neither identified any authority that would allow me to order the respondent entity to produce

records without first receiving notice of the request and having an opportunity to be heard nor

explained why it would be appropriate to do so assuming such authority exists.

           I therefore deny the motion without prejudice to renewal on notice to the respondent entity

and respectfully direct the defendant's counsel to show cause in writing by February 14, 2019, why

the instant motion should not be filed in unredacted form on the public docket.

           SO ORDERED.

Dated: Brooklyn, New York
       February 11, 2019
                                                                          _     /s/
                                                                          James Orenstein
                                                                          U.S. Magistrate Judge



1
    The proposed order describes the records Celli seeks as "Lucio Celli's Records." See DE 15-1.
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